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                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


IN RE: BLUE CROSS BLUE SHIELD      Master File No. 2:13-CV-20000-RDP
    ANTITRUST LITIGATION
         (MDL No. 2406)            This document relates to Provider-Track
                                   cases.




DEFENDANTS’ OPENING BRIEF ON THE ANTITRUST STANDARD OF REVIEW
     APPLICABLE TO PROVIDER PLAINTIFFS’ SECTION 1 CLAIMS
       PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 56
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                                PRELIMINARY STATEMENT

               This motion addresses an issue never previously considered in this case: What is

the appropriate antitrust standard of review for Providers’ challenges to the Blue Plans’ exclusive

service areas (“ESAs”), standing alone? This question arises in the wake of the Subscriber

Settlement, which this Court has already found introduces “pro-competitive reforms that will

change the nature of Defendants’ business moving forward” and “likely will move the Blues’

system from the Per Se category into the Rule of Reason category.” (Doc. 2641 (Prelim. App.

Decision) at 26, 49.) The Court was right, and all of Providers’ ESA claims should be evaluated

under the rule of reason for two critical reasons.

               First, pursuant to the Subscriber Settlement, the National Best Efforts (“NBE”)

rule, which the Court previously ruled “operates as an output restriction,” has been eliminated

and is no longer in effect. (SoR at 46.) Without NBE, there is no “aggregation of competitive

restraints.” (Id. at 37.) Instead, Providers’ claims center on ESAs, which arose from common-

law trademark rights in the 1930s and 1940s—and not from any horizontal agreement to divide

up territorial markets. That alone should foreclose application of a per se standard. But beyond

that, ESAs today facilitate collaboration among Blue Plans to offer a collective product that no

individual Blue Plan, or even a subset of Blue Plans, could offer alone. The rule of reason

should now govern Providers’ ESA claims. (See infra Section I.)

               Second, as a result of the Subscriber Settlement, the Provider case will now be

litigated on its own. (See Doc. 2603 at 1.) With the tracks separated, it is now clear that the

“aggregation” at the heart of the Court’s prior standard of review ruling does not apply to

Providers’ case. Unlike Subscribers’ claims, Providers’ claims have never involved an

aggregation of restraints on branded and unbranded business. Indeed, expert discovery in the

Provider track has confirmed that Providers do not have—and have never had—claims, damages


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or injuries resulting from NBE. Thus, Providers’ backward-looking damages claims are no

different from their forward-looking claims, and the rule of reason should apply to all of

Providers’ claims. 1 (See infra Section II.)

              STATEMENT OF UNDISPUTED RELEVANT MATERIAL FACTS

         A.      Service Areas, in Alabama and Around the Country, Arose from Common-
                 Law Trademark Rights.

                 1.       The Blue Plans’ common history began nearly 90 years ago, with the

development of prepaid hospital and medical plans in the 1930s. Spurred by the poverty

wrought by the Great Depression, such plans were created by local hospitals and medical

societies to ensure access to care in communities where it was previously unaffordable.

(Doc. 1353-4 (U.S. Public Health Service Report on Blue Cross and Medical Service Plans

(“USPHS Rep.”)) at 21–22, 24; Doc. 1353-10 (Wilson Dep.) at 8–9 (Tr. 45:20–49:9).)

                 2.       Almost immediately, these local plans began using the blue cross or blue

shield symbol: the blue cross for prepaid hospital care, first used by the St. Paul, Minnesota Plan

in 1934; and the blue shield for prepaid medical care, first used by the Buffalo, New York Plan

in 1939. (Doc. 1353-7 (A History of the Blue Cross and Blue Shield System (“The Blues”))

at 25–26, 63–64.) Other plans quickly followed suit, including Hospital Service Corporation of

Alabama, today known as Blue Cross and Blue Shield of Alabama (“BCBS-AL”).

                 3.       Specifically, in 1935, the Alabama Legislature passed enabling legislation

for the creation of non-profit corporations to provide pre-paid hospital services. (Ex. 318.)

BCBS-AL was created the very next year. (Ex. 293 at -1071 (1936 Hospital Service Corporation




     1
       Neither NBE elimination nor the decoupling of the Provider case has any effect on Providers’ BlueCard
claims, which the Court has already correctly ruled should be analyzed under the rule of reason. (See SoR at 22,
49.)



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of Alabama Meeting Minutes); Ex. 317 (Alabama Secretary of State Record).)

               4.      BCBS-AL enrolled its first subscribers in April 1936. (Doc. 1353-4

(USPHS Rep.) at 29.) By June, it was ready to “sign contracts guaranteeing hospitalization in

any of 27 Alabama hospitals,” (Ex. 302 (Newspaper Excerpt) at 12), and was “provid[ing] group

hospitalization on a state-wide scale,” (id. at 14; see also Ex. 318 at 1157).

               5.      BCBS-AL used the blue cross mark in connection with these services by

no later than March 1, 1939 (Ex. 301 at -8082 (Alabama News Bulletin)), and used the mark

continuously thereafter (see, e.g., id. at -8088, -8091, -8119; Doc. 1353-13 at 17–18 (examples of

use)). By 1941, BCBS-AL was using the trade name “Blue Cross Plan” to advertise its services.

(Ex. 301 at -8118; Doc. 1353-13 at 2–3.)

               6.      In 1945, the Alabama legislature amended BCBS-AL’s enabling act to

allow the financing of “medical and/or surgical and/or obstetrical care and benefits.” (Ex. 319

at 52.) Shortly thereafter—at the request of Alabama physicians—BCBS-AL began offering

medical and surgical benefits, and the “Blue Shield Plan” became a “companion part of the local

Blue Cross hospital plan” in Alabama. (Ex. 298 (BCBS-AL Board of Directors Presentation)

at -5741.) BCBS-AL was using the blue shield mark in connection with medical benefits by at

least 1947. (Ex. 304 (Patterson Dep.) at 98:8–19.)

               7.      By 1949, BCBS-AL was advertising its “medical-surgical” plan as the

“Blue Cross – Blue Shield” plan, and using both the blue cross and blue shield marks together in

commerce. (Ex. 320 (newspaper samples); see also Doc. 1353-13 at 54–56 (letterhead).)

               8.      In this way, BCBS-AL used both marks on a state-wide, exclusive basis

well before there was a written license agreement setting out “exclusive service areas,” and well

before the marks were controlled by a single organization. (Doc. 1353-4 (USPHS Rep.) at 29;




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Doc. 1353-5 (USPHS Rep.) at 38; see also Ex. 304 (Patterson Dep.) at 94:24–95:22, 98:8–24.)

               9.      The same is true of other Blue Plans, which likewise used the blue cross

and/or blue shield marks in the 1930s and 1940s. (Blue Cross: Doc. 1353-7 (The Blues) at 26

(in the 1930s, “new Plans” were “springing up spontaneously all over the country” bearing the

blue cross mark); Doc. 1353-4 (USPHS Rep.) at 23 (listing number of blue cross Plans by year);

id. at 24 (by 1939, almost all cross plans “started in states, no part of which was previously

served by a plan”); Blue Shield: Doc. 1353-7 (The Blues) at 63–64 (the first user of the blue

shield mark “generously supplied it . . . to other Plans” operating in different geographies);

Doc. 1353-5 (USPHS Rep.) at 35 (listing number of blue shield Plans by year); Ex. 283

(Evolution of the Blues Overview) at -5023 (first blue shield Plans “sponsored by county

medical societies” with first “statewide coverage in 1939”).)

               10.     In this way, early plans began acquiring common-law rights to the blue

cross and/or blue shield marks through actual use in specific geographies. (See Doc. 1353-7

(The Blues) at 26–27, 63; Doc. 1353-11 (History of the Blue Cross and Blue Shield System

(“System History”)) at 2–3, 9; Ex. 287 at -7153 (“many plans now own the rights to use ‘Blue

Cross’ in the area in which they operate because of prior use or registration of the mark”);

Ex. 292 at -3772 (noting local registrations of Blue Shield mark); Doc. 1353-15 (Rotunno Dep.)

at 5, 7 (Tr. 36:1–9, 73:18–74:1); Ex. 305 (Rotunno Dep.) at 170:15–171:5; Doc. 1353-10

(Wilson Dep.) at 5, 20 (Tr. 30:10–20, 31:1–4, 256:1–9); Ex. 303 (Taffe Dep.) at 47:19–48:21,

155:13–157:3; Ex. 304 (Patterson Dep.) at 94:24–95:22, 98:8–24; see also, e.g., Doc. 1353-12

(examples of use); Doc. 1429-26 at 6 (same); Ex. 290 at -9485 (confirming use); Ex. 307 (Lagg

Dep.) at 27:1–24 (same); Ex Parte C.B. Donald Co., 117 U.S.P.Q. 485 (Comm’r Pat. &

Trademarks 1958) (“It is well-established . . . that rights in a trademark grow out of its




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use . . . .”).) Such common-law rights include the right to prevent others from using the same

mark in the same location. Tally-Ho, Inc. v. Coast Cmty. Coll. Dist., 889 F.2d 1018, 1023

(11th Cir. 1989).

       B.      National Organizations Supported the Local Plans.

               11.     At the same time that local plans were popping up across the country,

national organizations of hospitals and medical societies were beginning to accept members and

promulgate service standards.

               12.     In 1933, the American Hospital Association (“AHA”) adopted a resolution

that “approve[d] the principle of hospital insurance,” and published a set of “Essentials of an

Acceptable Plan for Group Hospitalization.” (Doc. 1353-4 (USPHS Rep.) at 25.) In 1938, AHA

developed a program to grant membership to local prepaid hospital plans, and 40 plans were

approved for membership, including BCBS-AL. (See Doc. 1353-11 (System History) at 7;

Doc. 1353-16 (AHA Standards); Ex. 284 at -9174; Ex. 285 at -0064 (List of AHA Plans).) By

1939, AHA’s “Standards for Non-Profit Hospital Service Plans” provided that member plans

may “identify the plan by using the seal of the [AHA] superimposed upon a blue cross.”

(Doc. 1353-19 (AHA Updated Standards) at 6.)

               13.     In parallel, the American Medical Association (“AMA”) “endorsed [the]

principle of ‘Medical service plans’” in 1938 “and set forth guiding principles” for such plans,

(Ex. 283 (Evolution of the Blues) at -5026), with the goal of establishing a “nation-wide

organization of locally administered prepayment plans sponsored by medical societies”

(Doc. 1353-5 (USPHS Rep.) at 36). In 1946, an AMA Council “announced tentative standards

of approval for medical plans.” (Id.) According to the Council, member plans were “entitled to

display the Seal of Acceptance of the [AMA] on their contracts and literature,” i.e., “a circle

within which is a Blue Shield emblazoned with a caduceus and the letters ‘A.M.A.’” (Id.;


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see also Doc. 1353-6 (USPHS Rep.) at 82–83.)

               14.       The AHA and AMA standards did not resolve ownership of the marks.

(See infra ¶¶ 17, 21.)

       C.      The Lanham Act Offers Federal Protection for Trademark Rights.

               15.       In 1946, Congress enacted the Lanham Act. This was a watershed

moment, offering the possibility of greater protection for the marks than had previously existed

at common law, but with significant uncertainty about how to invoke that protection.

(See Ex. 287 (Blue Cross Commission Report) at -7151–55; S. Rep. No. 1333, 79th Cong.

2d Sess. (1946), reprinted in 1946 U.S.C.C.A.N. 1274, 1274–77; Walter J. Derenberg, Federal

Unfair Competition Law at the End of the First Decade of the Lanham Act: Prologue or

Epilogue?, 32 N.Y.U. L. Rev. 1029, 1041–42 (1957).) Prior to the Lanham Act, trademark

legislation “reflected the view that . . . the right to a mark depended solely on the common law,”

resulting in a world where “rights to trademarks were uncertain and subject to variation in

different parts of the country.” Park ’N Fly, Inc. v. Dollar Park & Fly, Inc., 469 U.S. 189, 193

(1985). Now, for the very first time, the Lanham Act provided “national protection for

trademarks” simply by virtue of federal registration. Id.

               16.       Given this change in law, the Plans and the national organizations—at that

time, AHA for blue cross, and Blue Shield Medical Care Plans (“BSMCP”) for blue shield—

discussed how best to protect the marks. (See, e.g., Ex. 287 at -7152 (Blue Cross Commission

Report noting the challenges caused by “imitators” who were misleading patients into purchasing

“inadequate coverage” and “confusing the public” into believing “they purchased Blue Cross

protection,” and “the desirability of protecting the Blue Cross emblem and the words ‘Blue

Cross’ under the provisions of the federal trademark law known as the Lanham Act”);

see also Ex. 290 at -9485–86 (Blue Shield Letter discussing the desire to “fully develop[] and


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protect[]” the Blue Shield marks and noting a “joint[]” meeting with the Blue Cross Commission

in an effort to do so); Ex. 288 (Blue Shield Meeting Minutes) at -4329.)

               17.     But, in doing so, the Plans faced a practical problem. Due to their natural

development at common law, different entities had different claims to the marks in different

parts of the country; the Lanham Act, however, “require[d] ownership of the mark by a single

party as a prerequisite to registration.” (Ex. 287 (Blue Cross Commission Report) at -7152.)

The Plans determined that “[a] practical problem has to be met with a practical answer”—

namely, to clarify ownership by agreeing that the marks should be “nationally owned” by a

“central body . . . in order that each [plan] may have a part of something of secure value under

the protection afforded by federal law.” (Id. at -7154 (blue cross); see also Ex. 291 (“For many

years the ownership of the Blue Cross insignia and the words ‘Blue Cross’ themselves have been

nebulous” because “[e]arly in the history of the Blue Cross movement, there was no provision

for national registration of such symbols and identifying phrases. . . . With the passage of federal

legislation permitting national registration, the Association promptly moved toward broadened

protection by applying for such national registration and ownership.”); Doc. 1353-11 (System

History) at 10 (recognizing that local rights to the shield mark existed “under various state

registrations . . . and certain common law principles,” but contemplating greater protection

nationally for “service marks [which] could not be registered until after 1946”).)

               18.     In 1947 and 1948, the national organizations applied for federal

registration of the blue cross and blue shield marks (“Blue Marks”). (Docs. 1353-28–1353-29;

Docs. 1353-31–1353-47; see also Doc. 1353-48 at 2 and Ex. 289 at -4334 (confirming that

BSMCP “formally adopted the words ‘Blue Shield’ [in 1947] and their accompanying symbol as

the[ir] official service mark” and that it had “permission . . . from all [] plans which had used the




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symbolism prior to filing the application”; Ex. 286 (1947 Blue Cross Meeting Minutes) at -9267

(“[R]egistration should be made by the [AHA] . . . .”).)

               19.     Federal trademark registrations were issued to the national organizations

in 1952. (Docs. 1350-36; 1350-37; 1350-38; 1350-40; 1350-41; 1350-42; 1353-30.)

       D.      The License Agreements Codify Existing Common-Law Trademark Rights.

               20.     After the federal trademarks were issued, the local Plans entered into

written license agreements with the national organizations.

               21.     These license agreements explicitly recognized the existence of certain

plan-based local rights that predated federal registration and the license agreements themselves.

(Doc. 1353-50 (1954 License Agmt.) at 2–3 (“[A]s a result of their use of the words BLUE

CROSS and the design of a blue cross with respect to prepayment plans for hospital care and

related services, certain INDIVIDUAL PLANS hereto subscribing have developed certain

territorial rights with respect to the words BLUE CROSS and the design of a blue cross in the

particular areas served by such PLANS”); Doc. 1353-48 (1952 License Agmt.) at 2 (“Prior to the

incorporation of the National Organization, several of the medical care plans that are now full

members of the National Organization adopted and used, in both intra-state and interstate

commerce, a service mark, consisting of the words ‘Blue Shield,’ either used alone or in

conjunction with a symbol in the shape of a shield”).) The license agreements confirmed that the

Plans had centralized these local rights into the national organizations and that the national

organizations, in turn, agreed to license back to each Plan the right to use the federal Blue

Mark(s) in the same geography where the Plan had previously operated. (Doc. 1353-48 (1952

License Agmt.) at 2–4; Doc. 1353-50 (1954 License Agmt.) at 2–4.)

               22.     In this way, the 1950s license agreements granted rights to the federal

marks that precisely tracked the rights each Plan was already exercising at common law—no


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more, and no less. (See Doc. 1353-50 at 3–4 (1954 License Agreement providing “EACH

INDIVIDUAL PLAN” the right to use the Blue Cross mark “within the area served by the

INDIVIDUAL PLAN as of the dates of these presents”); Doc. 1353-48 at 3–4 (1952 License

Agreement granting “permission to use” the Blue Shield mark “subject to” “local right[s]” and

confirming that the Plan does “not waive, forfeit or relinquish any legal right . . . that may have

been heretofore acquired”).)

               23.     In areas where a single Blue Cross Plan had historically operated, such use

was “exclusive.” (See Doc. 1353-50 (1954 License Agmt.) at 4 (“said right and license shall be

exclusive within the areas served by the individual plan as of the dates of these presents”).) In

areas where multiple Plans had historically operated, the license agreements did not allocate

territories, but rather accepted and codified that reality with respect to those particular Plans.

(See id. (granting an exception to exclusivity “to the extent that said area may overlap with the

area or areas served by another or other INDIVIDUAL PLANS licensed hereunder on the date of

these presents, as to which overlapping areas said license shall be nonexclusive as to such other

PLAN or PLANS only”).)

               24.     The Blue Shield agreements captured this same concept by explicitly

preserving local rights to the mark—which, at common law, included the right to exclude (see

supra ¶ 10)—while simultaneously protecting the mark “as against third party infringement.”

(See, e.g., Doc. 1353-48 (1954 License Agmt.) at 3–4.) Indeed, by this time (the early 1950s),

many Plans had registered their individual marks with their respective states (Doc. 1353-11

(System History) at 10; Ex. 292 (Blue Shield Commission Meeting Minutes) at -3772),

providing yet another basis for state-based territorial rights that were then codified in the 1952

licensing agreement. (Doc. 1353-11 (System History) at 10–11.) Further, at this point, many




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Plans were operating as both “Blue Cross” and “Blue Shield,” naturally resulting in cross and

shield service areas becoming coextensive. (See, e.g., Docs. 1429-23 at 3, 5–7; 1429-24 at 4;

1353-31 at 9; 1429-27 at 6; 1429-28 at 9; 1429-29 at 4; Ex. 307 (Lagg Dep.) at 27:1–24.)

               25.     In 1972, AHA transferred ownership of the Blue Cross Marks to the Blue

Cross Association (Doc. 1353-57 (Ownership Agmt.)), and those license agreements were

reaffirmed (Doc. 1353-100 (1972 License Agmt.) at 2). The 1972 agreements again provided

each Plan the “exclusive” right to use the Blue Cross mark “within the geographical area served

by the Plan on the effective date of this License Agreement,” with a carve-out for overlap areas

that historically existed. (Doc. 1353-100 (1972 License Agmt.) at 2.)

               26.     In 1982, the Blue Cross Association merged with the Blue Shield

Association (formerly BSMCP) to create the Blue Cross and Blue Shield Association.

(Doc. 1353-10 (Wilson Dep.) at 6 (Tr. 33:10–24); Doc. 1349-43 (Articles of Incorporation) at 4–

6; see also Doc. 1349-27 at 44.) With the “Blue Cross” and “Blue Shield” marks now under one

roof, the license agreements were reissued in 1991, to ensure alignment between them. (See,

e.g., Doc. 1349-11 (1991 Blue Cross Agmt.) at 3; Doc. 1349-12 (1991 Blue Shield Agmt.) at 3.)

               27.     As before, these 1991 license agreements did not allocate territories, but

merely referred back to the same areas Plans had historically served at common law. (See,

e.g., Doc. 1349-11 (Cross Agmt.) at 5 (“The rights hereby granted are exclusive to the Plan

within the geographical area(s) served by the Plan on June 30, 1972, and/or as to which the Plan

has been granted a subsequent license . . . .”); Doc. 1349-12 (Shield Agmt.) at 5 (same).) There

was no attempt to redraw the territorial lines or to redistribute trademark rights in these

agreements. (Id.)

               28.     This same language exists in the license agreements today.




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(See Doc. 1352-127 (Blue Cross Agmt.) at 8; Doc. 1352-128 (Blue Shield Agmt.) at 7.)

                 29.      Importantly, no Plan has ever held nationwide rights to the Blue Marks, no

Plan has ever owned any of the federally registered Blue Marks and no Plan has ever been able

to license or govern their use on a national scale. 2 (Docs. 1353-11 (System History) at 7, 10;

1353-48 (1952 License Agmt.) at 2–3; 1353-50 (1954 License Agmt.) at 2–3; supra ¶ 10.)

         E.      The Blue System Fosters Exceptionally Broad Provider Networks, Made
                 Available Nationwide Through BlueCard.

                 30.      Consistent with their development at common law, Blue Plans have

historically focused on their local service areas. (See, e.g., Ex. 303 (Taffe Dep.) at 50:23–52:12;

Ex. 312 (Murphy Dep.) at 239:10–12.)

                 31.      Among other things, Blue Plans have reached deep into their respective

territories and developed expansive provider networks. (See Docs. 1353-61 at 3; 1353-82 at 6;

Ex. 306 (Hedges Dep.) at 29:2–30:11; see also Ex. 299; Ex. 300; Doc. 2565-49 (2019 Murphy

Rep.) ¶¶ 102–03.) BCBS-AL, for example, typically has in its network all hospital facilities in

the state, including in the most rural parts of the state, while other national insurers often have

substantially fewer providers in network and, in some areas, do not contract with any hospitals at

all. (See, e.g., Doc. 2565-49 (2019 Murphy Rep.) at 50–52; Ex. 308 (Tickle Dep.) at 31:19–

32:19; Ex. 294; Ex. 295; Ex. 296; Ex. 297.)

                 32.      These extraordinary local networks that each Plan develops in its service

area are then made available to Blue members on a nationwide basis through the BlueCard

Program. (Doc. 1349-44 at -0334.) Though no single Blue Plan (or group of Blue Plans) could


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       This Court has summarized this complex history concisely: “[C]ertain Plans initially developed ‘individual’
trademark rights. Then, the Plans purposefully integrated those ‘individual’ assets into the separate Cross and
Shield predecessors. Later, those entities applied for and received nationwide, federal trademark registrations and
‘licensed’ the Marks back to the Plans employing ESAs based on the areas where the Plans previously used the
Marks.” (SoR at 33 (footnote and citation omitted).)



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develop comparable networks nationally on its own, BlueCard stitches together each of the

individual Blue Plan’s local networks to provide subscribers with “a single point of contact for

education, contracting, claims payment/adjustments and issue resolution.” (Doc. 1353-61 at 2;

see also Doc. 1353-71 at 39–40; Doc. 1353-99 (Cullen Dep.) at 4–5 (Tr. 152:23–153:1).)

         F.      The National Best Efforts Rule Has Been Eliminated.

                 33.      NBE, adopted in 2005, required each Plan to derive at least 66-2/3% of its

national health insurance revenue under the Blue brands. (Doc. 2448-8 (2005 BCBSA minutes)

at 10–11, 41; Doc. 2448-1 (Guidelines to Administer Membership Standards) at 7.) Pursuant to

the Subscriber Settlement, the NBE rule was eliminated on April 27, 2021, and is no longer in

effect. (Ex. 321 (4/27/2021 BCBSA Board Resolution).) The Subscriber Settlement expressly

leaves in place the Blue Plans’ historic service areas. (Doc. 2610-2 (Settlement Agmt.) ¶ 13.)

                        APRIL 2018 STANDARD OF REVIEW DECISION

                 On April 5, 2018, this Court issued its first standard of review decision. That

Order governed the Provider and Subscriber Plaintiffs’ joint case, in which Subscribers had

challenged NBE and argued that the per se standard should apply to ESAs and NBE.

(See Doc. 1351 (Subscribers’ SoR Br.) at 26–27.) In that context, the Court agreed that the

aggregation of ESAs and NBE was unlawful per se. 3 (SoR at 59.) Importantly, the Court

“emphasize[d] that . . . [it] expresses no view about whether the ESAs alone qualify as a per se

Sherman Act violation,” (id. at 22), a view it has reaffirmed, (Conway Doc. 604 at 10). Indeed,

the Court has subsequently recognized that, without “the National Best Efforts revenue cap,”

“the court’s standard of review opinion would no longer apply.” (Doc. 2641 (Prelim. App.



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       While Defendants respectfully disagree with the Court’s conclusion that NBE impermissibly restricts output
and with the Court’s treatment of NBE + ESAs as per se unlawful, we of course accept the Court’s ruling, while
preserving all issues for appeal.



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Decision) at 48.) Now, for the first time, the Court is asked to answer the question of which

standard to apply to ESAs. We now turn to that novel question, and explain why all of

Providers’ claims should be evaluated under the rule of reason.

                                           ARGUMENT

I.     THE RULE OF REASON GOVERNS PROVIDERS’ ESA CLAIMS.

       A.      Legal Principles Governing Standard of Review.

               To determine the appropriate standard of review, “the reasonableness of

agreements under the antitrust laws are to be judged at the time the agreements are entered into.”

Valley Drug Co. v. Geneva Pharms., Inc., 344 F.3d 1294, 1306 (11th Cir. 2003); see also Broad.

Music, Inc. v. Columbia Broad. Sys., Inc. (“BMI”), 441 U.S. 1, 20–21 (1979) (considering the

origins of the challenged restraint when determining the appropriate standard of review);

Procaps S.A. v. Patheon, Inc., 845 F.3d 1072, 1080 (11th Cir. 2016) (observing that the

challenged restraint “was lawful at its inception”); Polk Bros., Inc. v. Forest City Enters.,

776 F.2d 185, 189 (7th Cir. 1985) (“A court must ask whether an agreement promoted enterprise

and productivity at the time it was adopted.”).

               Focused on the inception of the challenged restraint, the Court must “start with

the general assumption that the rule of reason applies.” Procaps, 845 F.3d at 1083; see also

Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 885 (2007) (“The rule of

reason is the accepted standard for testing whether a practice restrains trade in violation of § 1.”).

Particularly where a restraint is characterized by a unique factual context with which the court

lacks substantial experience, “it should be subjected to a more discriminating examination under

the rule of reason.” BMI, 441 U.S. at 10 (applying the rule of reason where “[w]e have never

examined a practice like this one before”); accord Procaps, 845 F.3d at 1083–84; see also infra

at pp. 20–21 (collecting cases).


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               While rule of reason is the rule, per se treatment is the “exception.” Leegin,

551 U.S. at 895. “The per se rule is reserved only for those agreements that are so plainly

anticompetitive that no elaborate study of the industry is needed to establish their illegality, or

that are naked restraints of trade with no purpose except stifling of competition.” Procaps,

845 F.3d at 1083 (internal quotation marks and alteration omitted); accord Seagood Trading

Corp. v. Jerrico, Inc., 924 F.2d 1555, 1567 (11th Cir. 1991) (“[T]he per se label should be

applied infrequently and with caution.”). While naked horizontal market allocation among

competitors is often cited as a per se restraint, the Eleventh Circuit has repeatedly cautioned that

“just because an agreement is capable of being characterized as a market allocation agreement

does not mean that the per se rule applies.” Procaps, 845 F.3d at 1083; accord Valley Drug,

344 F.3d at 1304–05. “[E]asy labels do not always supply ready answers.” BMI, 441 U.S. at 8.

               Rather, “in deciding whether a challenged practice is subject to rule of reason or

per se analysis, the court must inquire into whether the practice, on its face, always or almost

always tends to restrict output or instead is likely to assist the creation of economic efficiency.”

Nat’l Bancard Corp. (NaBanco) v. VISA U.S.A., Inc., 779 F.2d 592, 603 (11th Cir. 1986); accord

Bus. Elecs. Corp. v. Sharp Elecs. Corp., 485 U.S. 717, 723 (1988); Polk Bros., 776 F.2d at 188–

89 (“A court must distinguish between ‘naked’ restraints, those in which the restriction on

competition is unaccompanied by new production or products, and ‘ancillary’ restraints, those

that are part of a larger endeavor whose success they promote.”). Where there are

“procompetitive efficiencies that might flow from” the challenged conduct, the more exacting

rule of reason must apply. Procaps, 845 F.3d at 1084; see also State Oil Co. v. Kahn, 522 U.S.

3, 10 (1997) (“We have expressed reluctance to adopt per se rules with regard to restraints

imposed in the context of business relationships where the economic impact of certain practices




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is not immediately obvious.” (internal quotation marks omitted)). “A cooperative venture with

prospects for increasing output. . . . should not be condemned per se,” Polk Bros., 776 F.2d

at 190; instead, where “the whole is truly greater than the sum of its parts,” any “doubt” should

be resolved in favor of applying the rule of reason. BMI, 441 U.S. at 22–23.

                Moreover, the existence of material factual questions about the nature of the

challenged restraint itself counsels for the rule of reason. See, e.g., In re Se. Milk Antitrust Litig.,

739 F.3d 262, 273–74 (6th Cir. 2014) (“Here, when considering the allegations contained in the

parties’ briefs, it appears that a factual dispute exists as to the exact nature of the conspiracy, and

as to whether it was obviously anticompetitive. . . . Therefore, especially at the summary

judgment stage, this is not a ‘clear cut’ case of an obviously anticompetitive trade restraint, and

thus the district court was correct to apply the default standard of the rule of reason.”); Tower

Air, Inc. v. Fed. Express Corp., 956 F. Supp. 270, 285 (E.D.N.Y. 1996) (“Because of the

disputed facts, which preclude a finding as a matter of law that the per se rule applies, the Court

will proceed to analyze the undisputed facts under the rule of reason test.”). “[A]t the summary

judgment phase, the right question to ask regarding per se claims is whether the plaintiff has

shown that the challenged restraint is so obviously anticompetitive that it should be condemned

as per se illegal. If, in spite of the plaintiff’s efforts, the record indicates that the challenged

restraint is plausibly procompetitive, then summary judgment for the defendants is appropriate.”

Med. Ctr. at Elizabeth Place, LLC v. Atrium Health Sys., 922 F.3d 713, 724 (6th Cir. 2019).

        B.      The Rule of Reason Applies to Providers’ Claims Based on ESAs Alone.

                According to Providers, the 36 entities that comprise the Blue System entered into

an “explicit agreement . . . to divide the United States into what Defendants term ‘Service Areas’

and then to allocate those geographic areas among the Blues, free of competition.” (Compl. ¶ 4.)

That is the alleged wrong that Plaintiffs claim warrants a per se standard.


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               The unfixable problem for Providers, however, is that ESAs were not conceived

as a territorial division scheme among horizontal competitors. Instead, from their inception,

ESAs developed from the acquisition of common-law trademark rights in local areas, years

before the Lanham Act provided federal protection of such rights on a national scale. As

contemporaneous documents show, ESAs developed independently of each other, ultimately

requiring the Plans to work together to balance two competing concerns: preserving their rights

(see Ex. 287 at -7153), and protecting the marks (see id. at -7152–53; see also Ex. 291;

Doc. 1353-11 at 10). And whether the Court concludes, as we submit it should, that the ESAs’

origin is unassailable, or that, at most, some of its details could be subject to debate, the law

nevertheless mandates the same outcome: application of the rule of reason. That is so because

the exception to the rule—the per se standard—is necessarily and appropriately reserved only for

those cases in which the facts unquestionably call for its application. See, e.g., Leegin, 551 U.S.

at 895; Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006); Procaps, 845 F.3d at 1083; Seagood, 924

F.2d at 1567. It cannot credibly be argued that this is such a case—not only because ESAs arose

out of independent common-law trademark rights (infra Section I.B.1), but also because, today,

ESAs enable competitive efficiencies that promote interbrand competition (infra Section I.B.2).

               1.      ESAs Developed Independently Through Existing Trademark Rights.

               First, ESAs are not a territorial market allocation, but rather derive from historical

use of the marks and the resulting development of common-law trademark rights. Far from

creating new rights and dividing up the country to share them (as Providers allege), the license

agreements simply memorialize existing geographic rights to the Blue Marks as those rights

developed and existed at common law. See Tana v. Dantanna’s, 611 F.3d 767, 780 (11th Cir.

2010) (“[I]t is well established that the scope of protection accorded [to a common-law] mark is

coextensive only with the territory throughout which it is known and from which it has drawn its


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trade.”). Indeed, the license agreements do not allocate territories at all; BCBS-AL’s license

agreement, for example, does not assign it to Alabama. Rather, that agreement simply

recognizes BCBS-AL’s right to use the Blue Marks “within the geographical area(s) served by

the Plan on June 30, 1972, and/or as to which the Plan has been granted a subsequent license”—

that is, and has always been, the State of Alabama, even before the 1950s license agreements

were executed. (Docs. 1349-11 at 5; 1349-12 at 5; see also Facts ¶¶ 2–8.) And where there were

two users of a mark at common law, the license agreements did not attempt to divide or re-assign

territories, but rather recognized such “overlapping areas” and, in those cases, granted

“nonexclusive” rights as to the Plans with existing rights to operate in those areas. 4

(Docs. 1349-11 at 5; 1349-12 at 5.)

                 An agreement that “merely regulates the way a competitor can use a competing

mark” is necessarily “non-exclusionary” and falls squarely within the rule of reason. See Clorox

Co. v. Sterling Winthrop, Inc., 117 F.3d 50, 55–56 (2d Cir. 1997) (finding such agreements “are

common, and favored, under the law” and do not implicate the per se rule); accord Valley Drug,

344 F.3d at 1304–05 (recognizing that “[a] patent grants its owner the lawful right to exclude

others,” including “to grant exclusive territorial licenses”). That is because a “trademark . . .

does not confer a legal monopoly on any good or idea; it confers rights to a name only.” Clorox,

117 F.3d at 56. As set forth above, the Blue license agreements merely codify existing rights to

use the Blue Marks—and, with NBE gone, there is no restriction on any Plan selling competing

products across the country so long as they are not marketed under the Blue brand. (Facts ¶ 33.)

                 This case is thus similar to VMG Enterprises, Inc. v. F. Quesada & Franco, Inc.,


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       For example, Excellus and Anthem each has the right—exclusive as to the rest of the world, but nonexclusive
as to each other—to use the Blue Marks in upstate New York, where each has provided Blue-branded insurance
since the 1940s. (Docs. 1353-23; 1352-176 at 27.)



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788 F. Supp. 648 (D.P.R. 1992), where the court refused to apply the per se rule to a territorial

trademark division. In VMG, two manufacturers of baby diapers (VMG and non-party UCI)

separately acquired the right to use the mark “BABY’S CHOICE” in their own geographies. Id.

at 651, 654. Following competing filings to register their respective marks, VMG and UCI

entered into a concurrent use agreement in which they agreed that each manufacturer could use

the mark in its exclusive territorial region, which for VMG included Puerto Rico. Id. at 651–52,

657. Shortly thereafter, VMG sued the defendant, who was selling baby diapers in Puerto Rico

under the name “BABY’S CHOICE.” Id. at 650. The defendant, in turn, filed a counterclaim

alleging that the concurrent use agreement was “an illegal horizontal division of all the territory

of the nation” between VMG and UCI. Id. at 653–54 (internal quotation marks omitted). In

rejecting the defendant’s characterization, the VMG court concluded that “the territorial division

in question” did not violate the antitrust laws because the agreement did not “‘create’ a

trademark territorial division,” but instead “merely recognized it.” Id. at 657. As the court

explained, the parties’ “agreement for a territorial trademark division . . . result[ed] not from

some illegal, mutually pre-arranged scheme, but [instead] from the recognition . . . that the

division was already a reality as a matter of trademark law” and needed to be reduced to writing.

Id. at 657. The same is true of the ESAs and license agreements here.

               Critically, this analysis does not turn on a final determination of ownership

rights—nor does this Court need to make any such determination. The law expressly permits

parties to settle their trademark rights in order to reduce marketplace confusion and minimize

disputes. See Clorox, 117 F.3d at 60 (“[T]rademark agreements are favored in the law as a

means by which parties agree to market products in a way that reduces the likelihood of

consumer confusion and avoids time-consuming litigation.”). “Efforts to protect trademarks,




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even aggressive ones,” do not violate the antitrust laws because they “serve the competitive

purpose of furthering trademark policies.” Id. at 61. Here, contemporaneous documents make

clear that the license agreements, including ESAs, served to settle potential trademark disputes

among the Plans and national organizations “in order that each may have a part of something of

secure value under the protection afforded by federal law.” (Ex. 287 (Blue Cross Commission

Report) at -7154.) Thus, in the wake of the Lanham Act, license agreements with service areas

were a “practical answer” to a “practical problem.” (Id.) This is yet another way the Blues’

trademark history points decisively to the rule of reason. See Clorox, 117 F.3d at 60; see also

F.T.C. v. Actavis, Inc., 570 U.S. 136, 137, 159 (2013) (applying the rule of reason to agreements

settling patent disputes because there is “a general legal policy favoring the settlement of

disputes” and the potential anticompetitive effects of such agreements are far from clear); Valley

Drug, 344 F.3d at 1308 (applying the rule of reason to agreements settling patent rights, even

though the patent was later deemed invalid).

               Finally, although the Court previously recognized that Defendants “largely

defended their ESAs as incidental to trademark rights,” the Court at the time was considering

ESAs together with NBE and found no “valid connection between trademark rights and the

National Best Efforts rule.” (SoR at 37, 46 (“The [NBE] rule specifically restrains the Plans’

ability to compete under non-Blue brands.”).) NBE is now gone. On their own, ESAs do “no

more than regulate how the [BCBS] name . . . may be used; it does not in any way restrict [the

Blues] from producing and selling products that compete directly with the [Blue] brand, so long

as they are marketed under a [different] brand name.” Clorox, 117 F.3d at 57. Accordingly, as

to ESAs, the rule of reason should be applied. See id. at 56.

               2.      ESAs Enable Procompetitive Efficiencies.

               Second, ESAs should be analyzed under the rule of reason because they arise in a


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novel factual context and ultimately enable competitive efficiencies.

                As discussed above, even if ESAs allocated markets (which they do not), not all

agreements that can be characterized as such are per se unlawful. Procaps, 845 F.3d at 1083. In

Procaps, the Eleventh Circuit declined to apply the per se rule to an alleged market allocation

scheme—a Collaboration Agreement between joint venture partners that, unlike here, actually

divided geographic territories—because the Court was “not prepared to condemn the

Collaboration Agreement out of hand.” Id. at 1080, 1084. The court deemed per se treatment

inappropriate because (i) the alleged market allocation scheme was presented in a new factual

context (namely, a “legitimate joint venture” that was “lawful at its inception”), id. at 1080,

1083; and (ii) there were “procompetitive efficiencies that might flow from the Collaboration

Agreement,” id. at 1084; see also In re Sulfuric Acid Antitrust Litig., 703 F.3d 1004, 1008–13

(7th Cir. 2012) (“But there is another way to look at the exclusive territories . . . . If the

coordination is ancillary to (that is, supportive of) the legitimate business purpose of the venture,

it may be permissible—a rule of reason question.”). The same reasoning applies here.

                As set forth above, Plans developed rights to use the Blue Marks in specific

geographic territories over time—well before ESAs were codified in the license agreements.

(Facts ¶ 10.) The exclusive territories were not only “lawful at [their] inception,” see FN Herstal

SA v. Clyde Armory Inc., 838 F.3d 1071, 1080–81 (11th Cir. 2016) (“Actual substantive

[common-law] rights to a trademark arise based on its use in commerce.” (internal quotation

marks omitted)), but their evolution from inception to today is unique. Indeed, we are unable to

find a single case where an alleged geographic market allocation began and developed over

decades as ESAs developed here, beginning nearly 90 years ago. See Procaps, 845 F.3d at 1084

(“Neither party could point to a case” identical to the one before the court). That uniqueness




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alone counsels for the rule of reason. Id. (applying the rule of reason where “we do not have a

great deal of experience with the kind of case at issue here”); see also, e.g., BMI, 441 U.S. at 10

(applying the rule of reason where “[w]e have never examined a practice like th[e] one before

us”); Valley Drug, 344 F.3d at 1304 (reversing as “premature” application of the per se standard

to a novel market division agreement predicated on patent rights); In re Sulfuric Acid Antitrust

Litig., 703 F.3d at 1011 (“It is relevant that we have never seen or heard of an antitrust case quite

like this. . . . It is a bad idea to subject a novel way of doing business . . . to per se treatment

under antitrust law.”).

                This unique factual context, moreover, is critical to understanding why ESAs

promote, rather than impede, competition. Given this history, there is not a single Blue Plan

today that is able to use the Blue Marks throughout the United States—and that has nothing to do

with the license agreements. Indeed, if the license agreements were abolished tomorrow, there

would not be 36 Blue Plans each able to use the Blue Marks in all 50 states; instead, the world

would either look like it does today—with the Plans using the Blue Marks in distinct geographies

pursuant to separate trademark rights—or there would be serial lawsuits around the country to

resolve such rights. See, e.g., FN Herstal, 838 F.3d at 1080–81; (see also Doc. 1353-7

(The Blues) at 92 (before the 1950s licensing agreements, “disputes between Plans in adjacent

areas arose and charges of violation were frequent”)).

                Against this backdrop, ESAs and the rules governing them offer clarity so that

Blue Plans can focus on functions that further the central aim of the antitrust laws: “[t]he

promotion of interbrand competition,” Leegin, 551 U.S. at 890—that is, competition between

Blue and non-Blue brands. Having centralized their trademark rights into the Association (which

then handed back to each Plan precisely what each had given to the Association, albeit in the




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form of a common federal mark (Facts ¶¶ 20–28)), the Plans were able to protect those Marks

without forfeiting their individual rights and to work together to offer a nationwide Blue product

that no single Plan could offer on its own. The ESA rules thus promote output (by offering

another national product for subscribers in competition with other national insurers) and enhance

inter-brand competition (by acting as an additional national competitor). See, e.g., United States

v. Anthem, Inc., 236 F. Supp. 3d 171, 178 (D.D.C. 2017) (recognizing that, collectively, the

Blues are one of “only four national carriers still standing”). This is, again, something no Blue

Plan could do on its own using the Blue Marks. 5

                  Thus, ESAs “contribute to the success of a cooperative venture that promises

greater productivity and output”—i.e., are “ancillary” to that cooperation—and, therefore, are

properly analyzed under the rule of reason. See, e.g., Polk Bros., 776 F.2d at 189 (citing

generally BMI, 441 U.S. at 1; Nat’l Coll. Ath. Ass’n v. Bd. of Regents of Univ. of Okla., 468 U.S.

85 (1984)) (“If the restraint, viewed at the time it was adopted, may promote the success of this

more extensive cooperation, then the court must scrutinize things carefully under the Rule of

Reason.”); see also NaBanco, 779 F.2d at 603 (declining to apply the per se rule to an alleged

price-fixing scheme because it “was not a naked restraint of competition” but rather “ancillary”

to a “procompetitive, efficiency-creating integration”). Indeed, all that is required for the rule of

reason to apply is that the agreement have the potential to increase output through cooperation—

a standard easily met here. See, e.g., Polk Bros., 776 F.2d at 190 (“[If] the agreement is part of a


     5
       It is insufficient to dismiss this product merely because other health insurers offer national health insurance
without having to reconcile competing trademark rights. (See SoR at 44.) What matters is that, given the Blues’
unique history, ESAs are not “naked” horizontal market allocation—i.e., market allocation for the sake of market
allocation—but rather are “part of a larger endeavor whose success they promote.” Polk Bros., 776 F.2d at 188–90
(applying the rule of reason even though the parties to the challenged allocation agreement sold the same products
without it); see also BMI, 441 U.S. at 24 (applying the rule of reason despite “available alternatives” to the
challenged restraint); Procaps, 845 F.3d at 1084 (applying the rule of reason even though the parties to the
challenged allocation agreement offered softgel services prior to the agreement).



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cooperative venture with prospects for increasing output. . . . , it should not be condemned per

se.”). While the Court’s determination that NBE acted as an output restriction may have

prevented the application of this precedent to the combination of ESAs and NBE, ESAs alone are

integrally tethered to the use of the Blue Marks and allow the Blues to work cooperatively

together for the benefit of consumers. Indeed, this is precisely what the Court already correctly

concluded in the context of Providers’ challenges to the BlueCard program. (SoR at 53–54

(“While the court recognizes that concerted activity can qualify as per se price fixing . . . the

cooperative integration at the heart of the BlueCard program requires more detailed review. . . .

The similarities between the integrative aspects of the BlueCard program and a traditional joint

venture weigh in favor of applying the rule of reason.”).)

       C.      Sealy and Topco Do Not Mandate a Different Result.

               As an initial matter, we believe the core holdings of United States v. Sealy, Inc.,

388 U.S. 350 (1967), and United States v. Topco Associates, 405 U.S. 596 (1972), are

inconsistent with modern antitrust jurisprudence. This Court has recognized that “the continued

precedential value of Sealy and Topco has been called into question.” (Doc. 2641 at 47–48.) We

respect the Court’s ruling rejecting Defendants’ prior argument that those cases no longer govern

(SoR at 29–30), but preserve the issue for appeal and do not repeat the argument here.

               But perhaps more important for present purposes, Sealy and Topco simply do not

require application of the per se rule to ESAs. First, Sealy and Topco condemn a fact pattern not

present here. Although the agreements in both cases involved trademark rights, neither involved

the centralization and codification of rights that were independently acquired and developed at

common law. Rather, in Topco, the defendants’ licensing organization was formed for the very

purpose of allocating a new trademark formed by the licensees. Topco, 405 U.S. at 598–600.

And in Sealy, a single entity owned the trademark from the beginning, United States v. Sealy,


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Inc., No. 60 C 844, 1964 WL 8089, at *3–4 (N.D. Ill. Oct. 6, 1964), and there was “no dispute

that exclusive trademark territories were allocated to the manufacturer-licensees,” who did not

previously have any rights to that mark, Sealy, 388 U.S. at 352. Therefore, unlike here, both

Sealy and Topco involved new, deliberate territorial market allocations that from their very

inception limited licensees’ ability to sell their products. In contrast, as discussed above, ESAs

merely recognized and codified pre-existing trademark rights. No individual Blue Plan has ever

owned broader, nationwide rights to the Blue Marks or allocated such rights. (Facts ¶ 29.)

               Second, Sealy and Topco concerned territorial allocations that, unlike ESAs,

“lack[ed] . . . any redeeming virtue” whatsoever. Topco, 405 U.S. at 607 (quoting N. Pac. R. Co.

v. United States, 356 U.S. 1, 5 (1958)); see also Sealy, 388 U.S. at 355–56 (describing the

challenged territorial allocations as “part of . . . unlawful price-fixing and policing”). Defendants

in those cases were not collaborating to increase output or sell any new or different product

(indeed, they sold the exact same products to consumers before and after engaging in the

challenged agreements); nor did they engage in any meaningful post-agreement cooperation to

enhance efficiency in the marketplace. See Sealy, 388 U.S. at 351–55 (indicating no ongoing

interaction among Sealy licensees beyond “flagrant and pervasive price fixing”); Topco,

405 U.S. at 599–600 (indicating that Topco members’ cooperation was limited to obtaining

grocery products from a common source). The Blue Plans, by contrast, work together for the

benefit of consumers—for example, by making available a nationwide Blue offering that no Blue

Plan could offer on its own given the Blues’ history at common law. (See supra at pp. 19–23.)

               Third, the per se rule announced in Sealy and Topco is especially inapplicable to

the provider- (or “buy-side”) effect of ESAs—a fact that is confirmed by the subsequent history

(post-Topco) of the Sealy system itself. In Sealy, the Supreme Court struck down license




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agreements that prevented the sale of Sealy-branded mattresses outside of designated geographic

territories. 388 U.S. at 356–57. Following the Supreme Court’s decision, Sealy revised its

licensing agreements to eliminate the requirement of strict exclusivity for the sale of mattresses

in particular territories. Ohio-Sealy Mfg. Co. v. Sealy, Inc., 585 F.2d 821, 824, 826

(7th Cir. 1978). However, Sealy “maintained the same territories as had been used before,”

incentivized licensees to sell primarily within those territories, and “promis[ed] not to license

anyone else to manufacture Sealy products in a licensee’s territory.” Id. at 826. The result was a

system with substantially loosened restrictions on mattress sales, but the same geographical

restrictions on mattress production that Sealy had imposed previously.

               A new plaintiff argued that these exclusive manufacturing territories were

unlawful. In a decision that followed both Sealy and Topco, the Seventh Circuit upheld the

revised Sealy system’s exclusive manufacturing territories, including because they permitted

“intrabrand competition among neighboring licensees.” Ohio-Sealy Mfg. Co. v. Sealy, Inc.,

669 F.2d 490, 496 (7th Cir. 1982), cert. denied, 459 U.S. 943 (1982) (“Sealy II”). The Supreme

Court declined to disturb the Seventh Circuit’s ruling. Ohio-Sealy Mfg. Co. v. Sealy, Inc.,

459 U.S. 943 (1982). Here, the Blues’ buy-side ESAs are even more procompetitive than the

exclusive manufacturing territories deemed lawful in Sealy II: ESAs actively promote interbrand

competition and facilitate the provision of a deep-network product that no other insurer offers.

(See Facts ¶¶ 30–32.) The rule of reason should apply.

II.    PROVIDERS’ ESA CLAIMS DO NOT INVOLVE NBE.

               As set forth in Section I, ESA claims are properly analyzed under the rule of

reason. That is the standard of review that applies to all of Providers’ claims, which have never

turned on NBE—a subscriber-facing rule that was challenged, litigated, and ultimately removed

because of Subscribers.


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       A.      The Prior Standard of Review Order Does Not Apply to Claims Brought by
               Providers, Who Have Never Been Subject to Unbranded Restraints.

               The Court’s prior standard of review ruling was based on the aggregation of rules

restricting the sale of Blue-branded business (ESAs) and the sale of “non-Blue brand business”

(NBE). (SoR at 46.) Providers’ claims, however, have never involved such an aggregation, a

fact that is now readily apparent with the Subscriber and Provider tracks proceeding separately.

Indeed, unlike on the subscriber side of the market, nothing prevents—or has ever prevented—

Blue Plans from contracting with out-of-area providers to build non-Blue networks. The ESA

provision says nothing about non-Blue business, and—unlike NBE—the rule specific to provider

contracting states only that a “Plan may not use the Licensed Marks and/or Name . . . to

negotiate directly with providers outside its Service Area.” (Doc. 1352-127 (Guidelines with

Respect to Use of Licensed Name and Marks in Connection with Nat’l Accts.) at 129 (emphasis

added); see also Doc. 1352-128 at 127.) Now that Providers’ claims must stand on their own, it

is clear that the Court’s prior reasoning based on aggregation does not, cannot and should not

apply to those claims. Instead, all of Providers’ claims—from their earliest damages claims to

their claims for go-forward injunctive relief—warrant a full rule-of-reason review.

       B.      Providers Do Not Have Claims for NBE.

               Providers cannot cling to the Court’s prior ruling by manufacturing an

aggregation based on NBE. That is because Providers’ case has never been about NBE. In their

695-paragraph Complaint, Providers mention NBE only a handful of times, and not a single time

in the counts seeking injunctive relief and damages. (Compl. ¶¶ 5, 15, 190–95, 365.) Likewise,

in their “Request for Relief,” Providers ask the Court to enjoin Defendants from enforcing

“agreements that restrict the territories or geographic areas in which any BCBSA member may

compete,” their so-called “Market Allocation Conspiracy,” but neither seek to enjoin (nor even



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mention) NBE. 6 (Compl. ¶¶ 1, 462.) Providers’ prior standard of review briefing similarly

focused only on ESAs. (See Doc. 1350.) Even now, Providers, through their experts, claim their

alleged harm arose because ESAs blocked entry from other Blues “historically,” decades before

the implementation of NBE in 2005. (Ex. 313 (Slottje Dep.) at 83:13–84:19 (the “but-for

world . . . would have happened decades ago because of a situation and rules that went into effect

in the 1930s, which is almost now a hundred years ago”); Ex. 311 (Haas-Wilson Dep.)

at 108:13–25 (ESAs would have prohibited entry “way back in the 1930s and ’40s and ’50s”).)

                  The fact that Providers do not complain about NBE is, of course, not surprising.

NBE was a subscriber-facing rule that governed solely the percentage of subscriber-related

revenue that a Plan may earn from non-Blue-branded sales on a nationwide basis. (Doc. 2449-2

at 4.) Indeed, prior to this Court’s decoupling Order, it was Subscribers who complained about

NBE (Doc. 1351 at 26–27), Subscribers who centered their standard of review argument on NBE

(Ex. 315 at 40:25–48:18), and Subscribers who negotiated for the elimination of NBE through a

settlement (Doc. 2610-2 ¶ 10). By contrast, NBE does not concern Providers—and now that the

tracks are decoupled, it need not concern this Court.

          C.      Providers Do Not Quantify Damages from NBE.

                  Expert discovery in the decoupled Provider case has further confirmed that NBE

is irrelevant to Providers’ case. Providers offer two economic experts, who claim that Providers

are entitled to over $5 billion in damages in Alabama alone. None of these damages

calculations, however, purports to measure the effect of NBE on any member of the putative

Provider class. Providers’ expert Professor Haas-Wilson conceded that her damages model

quantifies only “the effects of three of Defendants’ agreements: (1) the Market Allocation


    6
        Providers also seek an injunction against the Blue Card program. (Compl. ¶¶ 176–78, 231–33.)



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Agreements on Selling; (2) the Price Fixing Agreements; and (3) the Market Allocation

Agreements on Contracting.” (Doc. 2454-6 (2019 Haas-Wilson Rep.) ¶ 474.) But as Haas-

Wilson admits, Providers “have not quantified damage based on the output restriction

on . . . unbranded business [NBE].” (Doc. 2564-67 (Haas-Wilson Dep.) at 32–34 (Tr. at 305:2–

307:6).) 7 Similarly, Providers’ expert Dr. Slottje agreed that the legality of NBE has no effect

whatsoever on his calculation of Providers’ purported damages. (See Ex. 314 (Slottje Dep.)

at 49:18–50:3 (“[I]n terms of my calculation of damages, [NBE] doesn’t affect them.”).) In other

words, all of Providers’ claimed damages are the result of either ESAs standing alone or

BlueCard.

                 This is no mere technicality. To establish liability, Providers must demonstrate

not only a violation of the antitrust laws, but also “that [they] suffered economic damages which

are quantifiable.” Midwestern Waffles, Inc. v. Waffle House, Inc., 734 F.2d 705, 723 n.3

(11th Cir. 1984) (collecting cases); see also McClure v. Undersea Indus., Inc., 671 F.2d 1287,

1289 (11th Cir. 1982). Moreover, to be valid in a class action, the measure of damages must

match the plaintiffs’ theory of liability. See Comcast Corp. v. Behrend, 569 U.S. 27, 35–37

(2013) (reversing class certification where the plaintiffs’ damages “model failed to measure

damages resulting from the particular antitrust injury on which . . . liability in this action is

premised”). Here, because Providers’ measure of damages focuses solely on ESAs and

BlueCard, so, too, must the standard of review for liability. Just as NBE makes no difference to

Providers’ damages, it likewise makes no difference to the standard of review on Providers’

claims. And without NBE, the rule of reason should apply. (See supra Section I.)


     7
      Providers’ industry expert likewise testified that he performed “no empirical analysis to determine whether a
provider suffered common harm related the Best Efforts rules.” (Ex. 310 (Frech Dep.) at 152:18–23; see also
Ex. 309 (Frech Dep.) at 214:11–17.)



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        D.      NBE Has Not Injured Providers.

                Finally, it is not surprising that Providers claim no damages from NBE: the rule

has not even plausibly injured them. Tellingly, during the prior standard of review briefing,

Providers did not offer a single expert to opine that NBE affected them at all. (Doc. 1350.) This

is consistent with the way Providers had been litigating their case up to that point (see supra

Section II.B), and consistent with the Court’s discussion of NBE in its April 2018 Order

(SoR at 46 (“The alleged scheme at issue here is not limited to Defendants’ use of ESAs standing

alone. As Subscribers point out, ‘there is more.’”) (emphasis added).) This makes sense: after

all, NBE was a subscriber-facing rule. There is no provider-side rule analogous to NBE, nor any

other Blue rule that even arguably “aggregates” buy-side service areas with a prohibition on non-

Blue branded provider contracting. (See supra Section II.A.)

                Recognizing NBE’s import to the Court’s April 2018 Order, however, Providers

have tried to argue that they, too, have been injured by NBE. Providers now theorize through an

expert that NBE injured them through a tenuous chain of potential causal effects—that is, that

NBE “likely reduced the number of Blue Plans selling unbranded healthcare financing services

in Alabama,” which in turn “likely reduced the number of commercial buyers of healthcare

provider services in Alabama” and “likely . . . increased the number of homed enrollees of

BCBS-AL,” which likely “inflated BCBS-AL’s homed share,” and, as a result, likely “inflat[ed]

its contracting leverage in its interactions with providers,” which—finally—“likely harmed

providers in Alabama” by “reducing the contracted prices.” (Doc. 2454-6 (2019 Haas-Wilson

Rep.) ¶¶ 340, 348.) Even if true—and it is not—this theory of injury is far too attenuated and

speculative to satisfy Providers’ burden under the antitrust laws. See, e.g., McClure, 671 F.2d

at 1289 (“The ‘fact of damage’ is a sufficiency of the evidence question and cannot be based on

mere speculation. . . . [T]he plaintiff must prove . . . as a matter of fact and with a fair degree of


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certainty, that the defendant’s illegal conduct materially contributed to the[ir] injury.”); Alabama

v. Blue Bird Body Co., 573 F.2d 309, 317 (5th Cir. 1978) (A showing of “injury . . . may not be

based on speculation.”). 8

                  In fact, any theory of harm based on NBE is at odds with Providers’ entire theory

of the case, namely that entry in the “but-for” world would have happened “decades ago,” long

before NBE even existed. (See Doc. 2454-6 (2019 Haas-Wilson Rep.) ¶ 448 (“[T]he Market

Allocation Agreements on Selling have been in place everywhere in the United States and thus

this ideal but-for world does not exist and has not existed since at least 1942.”); Ex. 316 (Frech

Rebuttal Rep.) ¶ 233 (“My view, which is consistent with the view of Dr. Haas-Wilson, is that

the but-for world is constructed by imagining a world where none of the allegedly

anticompetitive agreements would have ever existed, going back to the very beginning of the

Blue Cross Blue Shield Plans in the 1930s.”); see also Ex. 309 (Frech Dep.) at 32:7–33:7.) NBE

therefore did not—and could not—cause Providers’ alleged injuries. Without NBE, Providers’

ESA claims stand alone and all of their claims should be evaluated under the rule of reason.

(See supra Section I.)

                                                  CONCLUSION

                  For the foregoing reasons, Providers’ ESA claims arising under § 1 of the

Sherman Act are properly analyzed under the rule of reason.



      8
        Providers further speculate that NBE “likely reduced the number of Blue Plans selling unbranded healthcare
financing services in Alabama, and thus likely limited the potential choices.” (Doc. 2454-6 (2019 Haas-Wilson
Rep.) ¶ 340.) According to Providers, this “likely” reduction in consumer choice means healthcare providers in
Alabama have also “had less choice and have been harmed accordingly.” (Doc. 2564-67 (Haas-Wilson Dep.) at 33–
34 (Tr. at 306:12–307:11).) But, without more, such conjecture about “reduction in choice” does not constitute
“harm” within the meaning of the antitrust laws. See Amey, Inc. v. Gulf Abstract & Title, Inc., 758 F.2d 1486, 1499,
1501 (11th Cir. 1985) (rejecting “lack of choice” as a form of antitrust injury and finding that “[t]he only injury
alleged . . . which is cognizable under the antitrust laws is that of the payment of the inflated fee”); Somers v. Apple,
Inc., 729 F.3d 953, 966 (9th Cir. 2013) (“[L]imitation of consumer choice, in itself, does not amount to ‘antitrust
injury.’”).



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Dated: May 21, 2021                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

               I hereby certify that on May 21, 2021, the foregoing was electronically filed with

the Clerk of Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.

                                                           /s/ Evan R. Chesler
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